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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

JOHN C. KITCHIN, JR., et al.,                   )
on behalf of themselves and all others          )
similarly situated,                             )
                                                )
                 Plaintiffs,                    )
                                                )
                                                    Case No. 4:18-cv-00672-CDP
vs.                                             )
                                                )
BRIDGETON LANDFILL, LLC, et al.,                )
                                                )
                 Defendants.                    )
                                                )

                               DEFENDANTS’ MOTION FOR SEALING

          Defendant and Third-Party Plaintiff Bridgeton Landfill, LLC and Defendant Republic

Services, Inc. (collectively “Defendants”) hereby move the Court to seal Defendants’ Motion to

Disqualify James Clayborne and the Law Firm of Clayborne & Wagner LLP in Their

Representation of Plaintiffs. The information discussed in Defendants’ Motion to Disqualify

contains references to privileged attorney-client communications and attorney work product,

and such communications and attorney work product are the very subject of the Motion to

Disqualify. Therefore, the Motion to Disqualify should be sealed, and Defendants request that

the Motion to Disqualify remains sealed indefinitely due to its privileged and confidential

nature.
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Dated: June 8, 2022                          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 8, 2022 a true and correct copy of the

foregoing was served on all counsel of record via electronic mail.



                                     /s/ Allyson E. Cunningham
                                     An attorney for Defendants and Third-Party Plaintiff




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